

People v Moore (2018 NY Slip Op 03069)





People v Moore


2018 NY Slip Op 03069


Decided on April 27, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 27, 2018

PRESENT: WHALEN, P.J., SMITH, LINDLEY, NEMOYER, AND WINSLOW, JJ. (Filed Apr. 27, 2018.) 


MOTION NO. (537/16) KA 14-01970.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vRICHARD H. MOORE, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








